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22-0972-cv
   United States Court of Appeals
                              for the

                    Second Circuit

           CHASE WILLIAMS, individually and on behalf
                 of all others similarly situated,
                                                          Plaintiff-Appellant,
     JD ANDERSON, COREY HARDIN, ERIC LEE, individually
and on behalf of all others similarly situated, BRETT MESSIEH, DAVID
  MUHAMMAD, RANJITH THIAGARAJAN, TOKEN FUND I LLC,
                                                  Lead-Plaintiffs-Appellants,
                               – v. –
                 BINANCE, CHANGPENG ZHAO,
                                                      Defendants-Appellees,
                      YI HE, ROGER WANG,
                                                                 Defendants.
                ––––––––––––––––––––––––––––––
     ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE SOUTHERN DISTRICT OF NEW YORK


    REPLY BRIEF FOR PLAINTIFFS-APPELLANTS

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                          PRELIMINARY STATEMENT

       This case presents novel questions about the extent to which U.S. securities

laws protect U.S. consumers from crypto-asset exchanges that promote, offer, and

sell   highly-risky   unregistered    crypto-assets—an    issue   with   tremendous

consequences, as recent turmoil in the crypto markets underscores.1 As alleged in

the complaint, Binance heavily promoted, offered, and sold speculative crypto-assets

that utilize blockchain technology 2 (“ERC-20 Tokens” 3) to Plaintiffs and the

proposed class via Binance’s online crypto-asset exchange.         The Tokens are

unregistered securities and Binance was operating as an unregistered exchange, in

violation of federal and state securities laws. Even though Binance relied heavily

on U.S. computer infrastructure to make these sales, Binance insists that its conduct

is extraterritorial and thus outside the reach of U.S. law simply because it does not

maintain formal headquarters in the United States. If Binance can insulate itself

from liability in this way, so too could every crypto-asset exchange. That would be

a terrible result for consumers, and it is not the law.



1
 David Yaffe-Ballany, Embattled Crypto Exchange FTX Files for Bankruptcy,
N.Y. Times (Nov. 11, 2022), https://www.nytimes.com/2022/11/11/business/ftx-
bankruptcy.html.
2
  A “blockchain” is a digital ledger that records the ownership and transfers of a
specific crypto-asset. See Plaintiffs-Appellants’ Opening Brief at 8.
3
 Capitalized terms not defined herein have the same meaning as in Plaintiffs-
Appellants’ Opening Brief.
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      The district court improperly dismissed on extraterritoriality and timeliness

grounds Plaintiffs’ claims seeking redress for this conduct, and Plaintiffs explained

in their opening brief why the relevant statutes and this Court’s controlling

precedents compel reversal. Binance primarily claims dismissal was warranted for

reasons that the district court did not even address. Not only do those arguments

come too late in the day, they ignore or contradict Plaintiffs’ well-pleaded

allegations and cannot be squared with this Court’s precedents.

      Plaintiffs more than adequately alleged that their purchases of Tokens on the

Binance exchange were domestic transactions subject to federal and state securities

laws under Morrison v. National Australia Bank Ltd., 561 U.S. 247 (2010). On

appeal, Binance argues that the sine qua non of the extraterritoriality analysis is the

location where Plaintiffs’ transactions were “matched.”           Relying on factual

assertions outside of Plaintiffs’ complaint, Binance contends that such matching

occurred, and Plaintiffs’ transactions were recorded, solely “off-chain” (i.e., off the

blockchain) in Binance’s records. Even if Binance were right—and it is not—

Plaintiffs adequately pleaded the domestic nature of the transactions by alleging that

Binance’s data is stored, and the servers hosting Binance’s online exchange are

located, on computers physically located in the United States. If instead, as alleged

in Plaintiffs’ complaint, the transactions were recorded on the blockchain through a

process known as “validation” (and not solely “off-chain,” as Binance now asserts

                                          2
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on appeal), Plaintiffs’ transactions were domestic because that process was

completed on computer infrastructure physically located in the United States.

Plaintiffs also alleged further steps that occurred in the United States, including their

agreement to purchase the Tokens by entering into contracts with Binance and their

submission of payment for these purchases from within the United States, and this

Court has found such actions to be indicia of domesticity in other cases. In addition,

Plaintiffs’ purchases were domestic under this Court’s precedents for the

independent reason that title for the Tokens passed in whole or in part over internet

servers located in California that host Binance’s website.

      As to timeliness, while Binance claims that the applicable limitations periods

began to run before Plaintiffs had even purchased the securities at issue—and

therefore before Plaintiffs could have pleaded claims seeking rescission of those

purchases—the text of the Securities Act and the Exchange Act and this Court’s

precedents defeat that contention. So, too, does the well-established principle that

limitations periods (unlike repose periods) do not begin to run until a claim has

accrued. Even if Binance’s view of statutes of limitations were correct, Plaintiffs’

claims would be timely because they alleged violations of the Securities Act and

Exchange Act within one year before filing their complaint.

      For the reasons detailed below and in Plaintiffs-Appellants’ opening brief, the

judgment of the district court should be reversed.

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                                    ARGUMENT

I.    Plaintiffs Allege Domestic Securities Transactions Because They
      Incurred Irrevocable Liability To Purchase Tokens In The United
      States And Title Was Transferred Within The United States

      Plaintiffs’ complaint sufficiently alleges that their purchases of Tokens on the

Binance exchange were domestic securities transactions subject to federal and state

securities laws. This Court’s decision in Absolute Activist Value Master Fund Ltd.

v. Ficeto lays out various indicia that a court can use to determine that “irrevocable

liability was incurred or title was transferred within the United States” in a securities

transaction, and therefore that the transaction was “domestic” and subject to federal

securities laws under Morrison. 677 F.3d 60, 68, 70 (2d Cir. 2012). Allegations

which may suffice to show that the transaction was domestic “includ[e], but [are]

not limited to, facts concerning the formation of the contracts, the placement of

purchase orders, the passing of title, or the exchange of money.” Id. at 70.

      Binance cannot defend the cramped legal standard for domesticity that it asks

this Court to adopt. In assessing whether a transaction is domestic or extraterritorial,

the Court has not given specific instructions about how much weight to give the

relevant factors in each case; instead, Absolute Activist and its progeny engage in a

case-specific holistic analysis of the various components of each transaction at issue

to determine whether a complaint adequately alleges that irrevocable liability was

incurred or title was transferred within the United States. For example, this Court


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has explained that “[d]etailed factual allegations describing contract formation in the

United States will typically satisfy the domestic transaction test.” Banco Safra S.A.-

Cayman Islands Branch v. Samarco Mineracao S.A., 849 F. App’x 289, 293 (2d Cir.

2021) (summary order). “[A] transaction is also domestic when the two sides of the

transaction are ‘matched’—thus forming a binding contract—on an electronic

exchange system within the United States.” Id. at 293 n.2. Thus, in the context of

exchange-traded securities, this Court has found that where trades were matched on

an electronic platform located in Illinois, and the alleged “mechanics of the

transaction support[ed]” that “the buyer and seller enter[ed] a binding irrevocable

agreement through matching” on the electronic platform, the plaintiffs sufficiently

alleged domestic transactions. Myun-Uk Choi v. Tower Rsch. Cap. LLC, 890 F.3d

60, 63, 68 (2d Cir. 2018). On the other hand, this Court has ruled that “the mere

placement of a buy order in the United States for [a] purchase of foreign securities”

that was “then executed on a foreign exchange,” without other transactional steps in

the United States that bound the purchaser to the transaction, is insufficient to allege

a domestic securities transaction. City of Pontiac Policemen’s & Firemen’s Ret. Sys.

v. UBS AG, 752 F.3d 173, 181 (2d Cir. 2014).

      Binance takes an unduly narrow view of the Absolute Activist standard,

arguing (at 32–33) that for exchange-traded securities, irrevocable liability can

attach only at the moment “when buy and sell orders are ‘matched’ on the exchange.”

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But Choi, on which Binance relies, does not set forth an exclusive test for

ascertaining the location of transactions in exchanged-traded securities. Instead,

Choi demonstrates that matching is not the only transactional step that can cause

irrevocable liability to attach to such transactions; depending on the structure and

mechanics of the transaction, a purchaser can incur irrevocable liability at more than

one transactional step, in more than one location. See 890 F.3d at 68; accord Fed.

Hous. Fin. Agency for Fed. Nat’l Mortg. Ass’n v. Nomura Holding Am., Inc., 873

F.3d 85, 156 (2d Cir. 2017).

      Even if this Court departed from its own precedents to agree with Binance that

the place of “matching” was the sole factor in determining where Plaintiffs incurred

irrevocable liability for their Token purchases, Plaintiffs’ transactions would still be

domestic. Binance argues (at 35), without evidentiary support and improperly on a

motion to dismiss, that Plaintiffs’ transactions occurred “solely ‘off-chain’ in

Binance’s records.” Even if that were true, it would mean only that Plaintiffs’ trades

occurred on Binance’s servers, which are alleged to be in the United States. A-170–

71 (Second Amended Complaint (“SAC”) ¶ 24); A-253 (SAC ¶ 327). Plaintiffs

allege that although Binance does not have a physical “headquarters,” it hosts its




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exchange on computer servers in the U.S. and stores its data in the U.S. Id.4

Accordingly, even if Binance were correct that the place where Plaintiffs’ purchases

are matched on Binance’s electronic system is determinative of where Plaintiffs

incurred irrevocable liability for their Token purchases, that matching took place in

the United States, and Plaintiffs’ transactions were therefore domestic. See Banco

Safra, 849 F. App’x at 293 n.2; Choi, 890 F.3d at 63, 68.

      Binance’s repeated contrary assertions (e.g., at 4, 16, 26, 35) that transactions

on the Binance exchange “occurred abroad” on a “foreign trading platform” cannot

help Binance. Indeed, they directly contradict the well-pleaded allegations of the

SAC and Defendants’ own statements. What the SAC actually alleges is that

“Binance has rejected the concept of having physical headquarters in any geographic

jurisdiction and describes its operations as decentralized”—in other words, Binance

takes the untenable position that because it has no headquarters and its exchange is

internet-based, Binance has no physical “location” at all, and therefore answers to

no one. See A-253 (SAC ¶ 326); A-171–72 (SAC ¶ 28) (quoting Defendant Zhao).

As discussed above, Plaintiffs allege that even though Binance lacks a physical

headquarters, it hosts its exchange on computer servers in the U.S. and stores its data




4
   The complaint flatly contradicts Binance’s claim (at 36) that Plaintiffs
“acknowledge Binance has no operations” in the United States. See A-170–71 (SAC
¶ 24); A-253 (SAC ¶ 327).
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on computer infrastructure in the U.S. (A-170–71 (SAC ¶ 24); A-253 (SAC ¶ 327)).

Plaintiffs’ purchases were therefore domestic even accepting, arguendo, Binance’s

claim that irrevocable liability was incurred in the location where Plaintiffs’

purchases were matched on Binance’s (U.S.-located) electronic systems.

      But Binance’s myopic focus on matching is misplaced because it ignores

Plaintiffs’ numerous other allegations which confirm that irrevocable liability was

incurred in the U.S. For one thing, as explained in the SAC and Plaintiffs’ opening

brief (at 21–22, 25) crypto-asset transactions using blockchain technology, such as

the Token purchases, become final and binding only once they are “validated” by

other participants in the blockchain network. E.g., A-175 (SAC ¶ 44); A-176 (SAC

¶ 50); A-178 (SAC ¶ 58). That validation process occurs across a network of

“nodes” (individual computers that “verify the validity of the transaction”), and the

largest cluster of nodes validating transactions on the Ethereum blockchain is located

in the United States. Opening Br. at 21–22 & nn.6–7, 25; A-170–71 (SAC ¶ 24); A-

175 (SAC ¶ 44); A-176 (SAC ¶ 50); A-178 (SAC ¶¶ 56–59); A-254 (SAC ¶ 328).

      Because validation makes crypto-asset transactions—including Plaintiffs’

Token purchases—final and binding, the place of validation represents a critical

factor that can demonstrate where irrevocable liability for a crypto-asset transaction

was incurred. Other courts have recognized as much: for example, the district court

in In re Tezos Securities Litigation applied Absolute Activist to find that the

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plaintiff’s crypto-asset transaction “became irrevocable only after it was validated

by a network of global ‘nodes’ clustered more densely in the United States than in

any other country.” 2018 WL 4293341, at *8 & n.12 (N.D. Cal. Aug. 7, 2018).

Here, Plaintiffs’ Token purchases became final and binding—and Plaintiffs incurred

irrevocable liability—when the trades were validated by computers servicing the

Ethereum blockchain that were physically located in the United States. See A-175

(SAC ¶ 44); A-176 (SAC ¶ 50); A-178 (SAC ¶¶ 56–59); A-254 (SAC ¶ 328).5

      Binance wrongly claims (at 17, 36) that Plaintiffs’ allegations do not “speak[]

to the relationship between validation and irrevocable liability.” But Plaintiffs’

allegations directly address the mechanics by which transactions in crypto-assets

(including the ERC-20 tokens Plaintiffs purchased) are recorded and validated,

including, for example, that ERC-20 tokens “exist on the Ethereum blockchain,” and

transactions on the Ethereum blockchain are “validat[ed]” by network users who

thus ensure that the blockchain is “accurate and secure.” See, e.g., A-162 (SAC ¶ 2);




5
  Binance’s claim (at 37–38) that “any transaction processed and recorded on a
blockchain is validated by every single ‘node’ worldwide” is inconsistent with
Plaintiffs’ allegations that their Token purchases were validated by computer
infrastructure physically located in the United States, and is therefore improper on a
motion to dismiss. Moreover, as the cited source and articles referenced therein
explain, “[o]nly one validator may successfully confirm a particular transaction,
even if multiple validators attempt [to do so].” Alexis M. Tellerd, Comment, Time
to Validate Validators: Determining the Legal Duty of Cryptocurrency Validators
Under the Bank Secrecy Act, 8 Nat’l Sec. L.J. 297, 304–06 & n.35.
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A-175 (SAC ¶ 44); A-176 (SAC ¶ 50); A-178 (SAC ¶¶ 56–59). Plaintiffs thus

“allege[d] facts suggesting that irrevocable liability was incurred … within the

United States.” Absolute Activist, 677 F.3d at 68.

      Beyond this, the complaint alleges additional transactional steps in the United

States that bound Plaintiffs to the transactions. Plaintiffs purchased the Tokens

while located in their domestic states or territories of residence, pursuant to contracts

with Binance that they entered into from their domestic states or territories of

residence. A-168–70 (SAC ¶¶ 15–22). (By comparison, the cases on which Binance

relies (at 28) involve purchasers who were located abroad.) Plaintiffs also submitted

payment for their purchases from their domestic states or territories of residence via

Binance’s crypto-asset exchange, which is hosted on U.S. computer infrastructure.

See id.; A-170–71 (SAC ¶ 24).

      This Court has found similar allegations regarding where contracts are formed

and payments transmitted sufficient to “‘lead[] to the plausible inference’ of a

domestic transaction,” which is all that is required at the pleading stage. Giunta v.

Dingman, 893 F.3d 73, 79 (2d Cir. 2018) (citing Absolute Activist, 677 F.3d at 68).

For example, a transaction was domestic where an investor “was in New York when

she received and signed the commitment forms for her [investment] and sent the

money required for opening her account,” and thus “irrevocably committed herself

to [the] investment while in New York.” United States v. Vilar, 729 F.3d 62, 78 (2d

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Cir. 2013). Similarly, this Court found a domestic transaction alleged where a

plaintiff agreed to purchase securities while physically located in New York and sent

payment for the securities from New York. Giunta, 893 F.3d at 82. Plaintiffs’

allegations concerning the locations from which they traded Tokens, their formation

of contracts with Binance, and their transmission of payment for Tokens, see A-168–

70 (SAC ¶¶ 15–22); A-170–71 (SAC ¶ 24), likewise suffice to allege domestic

securities transactions.

      Finally, even if Plaintiffs had not adequately alleged that irrevocable liability

was incurred in the United States—which they did—their Token purchases were

domestic for the independent reason that “title was transferred within the United

States.” Absolute Activist, 677 F.3d at 69. Although Binance asserts otherwise (at

26), Plaintiffs alleged that “title for the Tokens at issue in those transactions passed

in whole or in part over servers located in California that host Binance’s website,”

A-168–170 (SAC ¶¶ 15–22), and Plaintiffs raised that point in briefing to the district

court and their opening brief to this Court, No. 1:20-cv-02803-ALC, ECF No. 64 at

9; Opening Br. at 33–34 n.12.6



6
  As explained in Plaintiffs’ opening brief (at 33–34 n.12), Plaintiffs disagree with
the district court’s ruling that the SAC insufficiently alleged that Binance violated
Section 12(a)(1) by passing title of unregistered Tokens to Plaintiffs, and if this case
is remanded, Plaintiffs intend to seek the district court’s leave to amend the SAC to
further expand upon those allegations. With respect to the extraterritoriality
analysis, as discussed above, Plaintiffs’ allegations that “title for the Tokens at issue
                                           11
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II.   Plaintiffs’ Securities Act Claims Based On Purchases Within One Year
      Before Filing Are Timely
      A.     The Limitations Period For Section 12(a)(1) Claims Runs From
             The Date Of Purchase

      A Section 12(a)(1) claim must be brought “within one year after the violation

upon which it is based.” 15 U.S.C. § 77m (“Section 13”). The district court wrongly

held that all of Plaintiffs’ Section 12(a)(1) claims—including those arising from

purchases made within one year prior to filing suit—are untimely because “the

violation alleged for the Section 12(a)(1) claim is solicitation,” and the “latest act of

solicitation” by Binance “occurred earlier than one year [before] filing.” SPA-5.

But that view (which Binance seeks to defend) runs directly counter to controlling

precedent. It would also yield an untenable result: Section 13’s limitations period

would begin to run—and maybe even expire—before a plaintiff could assert a cause

of action for a violation of Section 12(a)(1).

      As explained in Plaintiffs’ opening brief (at 33–36), this Court has squarely

held that where a plaintiff brings a Section 12(a)(1) claim based on the alleged

unlawful offer of unregistered securities, the limitations period runs from the date of

the plaintiff’s purchase, not the date of the defendant’s last solicitation of such

purchase. Diskin v. Lomasney & Co., 452 F.2d 871, 875–76 (2d Cir. 1971)



in those transactions passed in whole or in part over servers located in California
that host Binance’s website,” A-168–170 (SAC ¶¶ 15–22), are independently
sufficient to establish domestic transactions under Absolute Activist.
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(Friendly, J.); see also Wigand v. Flo-Tek, Inc., 609 F.2d 1028, 1033 n.5 (2d Cir.

1979) (same, in Section 12(a)(2) action); City of Pontiac Policemen’s & Firemen’s

Ret. Sys. v. MBIA, Inc., 637 F.3d 169, 175 (2d Cir. 2011) (same, in Section 10(b)

action). Accordingly, Plaintiffs’ Section 12(a)(1) claims based on Token purchases

occurring on or after April 3, 2019 (i.e., one year before filing) are timely under

Section 13’s one-year statute of limitations.

      Binance’s observation (at 41) that Diskin predated the Supreme Court’s

decision in Pinter v. Dahl, 486 U.S. 622 (1988), is irrelevant. As Plaintiffs explained

in their opening brief (at 35–36), Pinter’s reasoning reaffirms Diskin’s conclusion

that the limitations period for a Section 12(a)(1) claim based on unlawful offering of

unregistered securities cannot begin to run until the plaintiff has purchased the

securities. As Pinter explained, a plaintiff may not bring a claim under Section

12(a)(1) based on the solicitation of unregistered securities unless and until the

solicitation is successful (i.e., the plaintiff purchases the unregistered security). 486

U.S. at 644. The statute of limitations for a Section 12(a)(1) claim therefore must

be understood to commence upon the plaintiff’s purchase, to avoid an

“unreasonable” statutory reading that would allow the limitations period to begin

running “before the action could have been brought—a construction which might

lead in some extreme cases to a running of the statute of limitations before the claim

had even arisen.” Diskin, 452 F.2d at 875–76.

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      Pinter held that Section 12(a)(1) “clearly confines … liability to those

situations in which a sale has taken place.” 486 U.S. at 644. That holding forecloses

Binance’s argument (at 43–44) that neither a purchase nor sale is necessary for the

defendant’s “violation” of Section 12(a)(1) because Pinter’s “purchase requirement”

is distinct from the category of “activities that may render a person liable when a

sale has taken place.” Pinter makes clear that there can be no violation of Section

12(a)(1) for the solicitation of unregistered securities until a sale has occurred. Thus,

under Section 13’s plain language, Plaintiffs’ claims arising from purchases within

one year of filing are timely.

      Binance’s strained interpretation of Pinter would fly in the face of this

Circuit’s well-established principles concerning statutes of limitations. As this

Court has explained, “[u]nlike a statute of repose, which begins to run from the

defendant’s violation, a statute of limitations cannot begin to run until the plaintiff’s

claim has accrued.” City of Pontiac, 637 F.3d at 176. Because statutes of limitation

are designed “to prevent stale claims, it would make no sense for a statute of

limitations to begin to run before the plaintiff even has a claim.” Id. at 175.

      Binance is wrong to suggest (at 44) that commencing the Section 12(a)(1)

limitations upon the plaintiff’s purchase would “permit plaintiffs to bring solicitation

claims against defendants at any time—no matter how much time has passed since

the alleged solicitation.” Section 12(a)(1) claims are governed by a statute of repose

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that ensures potential defendants are not subject to open-ended liability for stale

claims by barring any actions brought “more than three years after the security was

bona fide offered to the public.” 15 U.S.C. § 77m.

         Finally, Binance’s attempts to distinguish Diskin from this case are

unsupported by Diskin itself. Binance argues (at 41–42) that Diskin stands only for

the proposition that Section 13’s limitations period does not begin to run until the

time of purchase “where an underwriter both solicits” stocks not currently in

existence “and subsequently completes a stock sale as part of a single transaction

that violated the securities laws.” Diskin has no such limitation, and its broad

holding cannot be reconciled with Binance’s attempt to artificially cabin it to its

facts.    Likewise, Binance’s attempt (at 42–43) to constrain “Diskin’s policy

rationale” to situations where a “single defendant” both solicited the sale of a then-

non-existent security and “subsequently completed the sale after it became

available” lacks any basis in the decision or its reasoning. Moreover, Binance’s

insistence (at 42) that it would be unreasonable to condition the commencement of

the limitations period on “separate acts by unconnected persons” cannot be squared

with Section 12(a)(1)’s imposition of liability for the “offer” of unregistered

securities. That point also ignores that Binance is no stranger to the purchases that

it successfully solicited, which were completed via Binance’s exchange and based

upon which Binance collected a fee.

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      Contrary to Binance’s arguments, Diskin’s interpretation of “the one-year

period of limitation” applicable under Section 13 was not limited to any particular

factual application, and this Court held that the limitations period could not

reasonably be read to begin running “at a date before the action could have been

brought.” 452 F.2d at 875–76. Binance tellingly does not cite a single case that

applies Section 13 in the manner it urges upon this Court. Plaintiffs, however, have

cited multiple cases that apply Diskin or its reasoning outside of the narrow context

to which Binance would confine it, which Binance fails to address in its brief. See

Opening Br. at 35 (citing Wigand, 609 F.2d at 1033 n.5; City of Pontiac, 637 F.3d

at 175); see also Direction Assocs., Inc. v. Programming & Sys., Inc., 412 F. Supp.

714, 717 (S.D.N.Y. 1976) (“[Diskin] simply held that the one-year provision in

section 77m does not commence to run on an illegal offer until the plaintiff acquires

the shares.”).

      For the reasons explained in Plaintiffs’ opening brief and above, the

limitations period for Plaintiffs’ Securities Act claims began to run upon the date

they purchased the Tokens pursuant to Binance’s solicitations, and their claims

based on such purchases within one year of filing are therefore timely.7




7
 Binance’s knowledge-based arguments discussed in Section III, infra, are made
only with respect to Plaintiffs’ Exchange Act claims and do not apply to Plaintiffs’
Securities Act claims.
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      B.     Binance Continuously Solicited the Purchase of Tokens Within
             One Year Before Filing
      Even if Binance were right—which it is not—that the statute of limitations

runs only from the time of the last solicitation, Plaintiffs’ Section 12(a)(1) claims are

based on solicitations made within one year of suit, and therefore are timely.

Plaintiffs allege that Binance, via its website, engaged in continuous solicitation

during the year before filing of the two Tokens that Plaintiffs purchased during that

year (the EOS and TRX Tokens), including by “displaying detailed price and trading

data of the Tokens” that induced Plaintiffs to trade. Opening Br. at 36–37 (citing A-

186 (SAC ¶¶ 87–89); A-187–94 (SAC ¶¶ 92–99)). 8 Binance asserts that such

allegations do not constitute continuous solicitation, but the cases on which it relies

demonstrate otherwise.

      Relying on out-of-circuit caselaw, Binance asserts (at 45–47) that Plaintiffs

must allege “direct and active participation in the solicitation” of the relevant

purchases to allege a violation of Section 12(a)(1). But this Court has never adopted

such a standard, and courts in this Circuit—including in a decision Binance itself

cites—have concluded that even indirect solicitation can suffice to state a claim

under Section 12(a)(2). Youngers v. Virtus Inv. Partners Inc., 195 F. Supp. 3d 499,



8
 Binance does not contest that in mistakenly concluding the last acts of solicitation
were in November 2018 and February 2019, the district court wholly failed to
address these allegations.
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523 (S.D.N.Y. 2016); see also Alpha Cap. Anstalt v. Intellipharmaceutics Int’l Inc.,

2020 WL 3318029, at *4 (S.D.N.Y. June 18, 2020) (explaining that the Second

Circuit has not identified what makes a solicitation successful for the purposes of

Section 12 liability).

      In any event, the cases on which Binance relies (at 45–46) are readily

distinguishable on the facts and do nothing to undermine Plaintiffs’ allegations of

solicitation liability under Section 12(a)(1). Binance did not simply inform investors

that it was disseminating information on behalf of another party, or engage in a

purely “ministerial” or administrative task with no attempt to “persuad[e]” plaintiffs

to invest. Wilson v. Saintine Expl. & Drilling Corp., 872 F.2d 1124, 1126–27 (2d

Cir. 1989). Nor do Plaintiffs allege that Binance merely aided in “setting up” the

venture, Capri v. Murphy, 856 F.2d 473, 478–79 (2d Cir. 1988), or that they simply

supervised the marketing process without actively engaging in it, see Youngers, 195

F. Supp. 3d at 523.

      Instead, Plaintiffs alleged that throughout the class period—and throughout

the year prior to filing the complaint—Binance continuously solicited the sale of the

Tokens to investors by, for example, inviting them to “[b]uy & sell Crypto in

minutes,” and enabled them to do so by displaying the necessary price and trade data

for the Tokens on its website exchange platform to facilitate and effectuate that sale.

See, e.g., A-193–94 (SAC ¶ 99). Binance’s website further incentivized investors

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by promoting various “Weekly Bonus[es],” “Trading Competition[s]” and other

programs affiliated with specific tokens. See id. Critically, Plaintiffs allege that

Binance “profited handsomely” from engaging in this conduct by “receiving fees for

each transaction performed on its exchange” and “receiv[ing] large cash payments

from Issuers seeking to have their tokens listed.” A-196 (SAC ¶ 102).

      That alleged conduct suffices to establish that, even under the standard

Binance proffers, Binance engaged in active solicitation for the purpose of

persuading investors to purchase tokens on its platform, including the Tokens at

issue here, in order to profit Binance as a broker-dealer. See, e.g., Craftmatic Secs.

Litig. v. Kraftsow, 890 F.2d 628, 636–37 (3d Cir. 1989) (allegations that defendants

“solicited plaintiffs … and in so acting were motivated by a desire to serve their own

financial interests,” and assisted in the preparation of promotional materials, were

sufficient at the motion to dismiss stage); In re OPUS360 Corp. Secs. Litig., 2002

WL 31190157, at *10 (S.D.N.Y. Oct. 2, 2002) (assisting in preparing promotional

materials and engaging in promotion of investments “while motivated by the

prospect for financial gain … constitute[s] the active solicitation of securities”).

      Accordingly, even if the statute of limitations for Plaintiffs’ Securities Act

claims ran from the time of the last solicitation (rather than from the date of

purchase), Plaintiffs’ claims based on purchases made within the year before filing




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are timely as a result of Binance’s continuous solicitation during the year before

filing.

III.      Plaintiffs’ Exchange Act Claims Based On Purchases Within One Year
          Before Filing Suit Are Timely

          Plaintiffs’ Exchange Act claims arising from purchases on or after April 3,

2019 are timely because Section 29(b)’s one-year limitations period could not have

started to run until those purchases occurred. In ruling otherwise, the district court

held that “Section 29(b) has a one-year statute of limitations” with “a discovery rule

by which the limitations periods only begins to run within one year after the

‘discovery that [the] sale or purchase involves [a] violation.’” SPA-6 (citing 15

U.S.C. § 78cc; Alpha Cap. Anstalt v. Oxysure Sys., Inc., 216 F. Supp. 3d 403, 408

(S.D.N.Y. 2016)). As Plaintiffs explained in their opening brief (at 28–33), the

district court ruling suffered from several fatal flaws: it rested on factual conclusions

about Plaintiffs’ purported knowledge of Binance’s unregistered status that are

unsupported by Plaintiffs’ allegations; it cannot be squared with the text of the

express Section 29(b) limitations period that it applied, and it improperly engrafts a

knowledge defense onto Section 29(b) where none exists. Binance does not defend

the district court’s reasoning, and now argues that Plaintiffs’ claims are untimely

under a different limitations period.      But Plaintiffs’ Section 29(b) claims for

purchases made within one year of suit are necessarily timely under both the

limitations period applied by the district court and the limitations period on which
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Binance now relies because neither one began to run until the date of Plaintiffs’

purchases.

      Without acknowledging that the district court explicitly relied on Section

29(b)’s express limitations period that applies only to fraud claims (and not the strict

liability claims at issue here), Binance faults Plaintiffs (at 54) for focusing their

opening brief’s arguments on that fraud-based limitations period. But Plaintiffs’

opening brief (at 27 n.9) specifically highlighted that Section 29(b) provides an

express limitations period only for fraud violations and explained that the question

of whether that limitations period applies to non-fraud claims such as those here was

neither presented to nor expressly decided by the district court.

      Notably, Binance does not even attempt to argue that Plaintiffs’ Section 29(b)

claims for purchases made within one year of suit are untimely under the limitations

period applied by the district court. Nor could it; as explained in Plaintiffs’ opening

brief (at 28–33), those claims are necessarily timely under the plain language of that

limitations period. Instead, Binance claims (at 48) that the appropriate limitations

period for non-fraud Section 29(b) claims “runs from the date that a ‘reasonably

diligent plaintiff would have discovered the facts constituting the [alleged]

violation.’” Even under that limitations period, Plaintiffs’ Section 29(b) claims are

timely.




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      In arguing otherwise, Binance asserts (at 49, 52) that the date of the

“violation” for the purposes of its discovery rule and limitations period is the date

on which the contract was “made.” Based on that logic, Binance claims that

Plaintiffs’ claims are untimely because, according to Binance, Plaintiffs knew that

Binance was an unregistered exchange when they agreed to their contracts with

Binance, and those contracts were entered into more than one year prior to filing.

Binance is wrong for several reasons.

      First, as Plaintiffs explained in the district court, the relevant contracts

between Plaintiffs and Binance that Plaintiffs seek to rescind are the purchase

contracts that Plaintiffs impliedly entered into with Binance upon executing each

Token purchase at issue. No. 1:20-cv-02803-ALC, ECF No. 64 at 4, 14–15 (citing

SAC ¶¶ 15–22, 58, 375, 386). Each time the Plaintiffs transacted in the Tokens, they

paid Binance a 0.1% fee associated with the transaction and, in doing so, entered

into a purchase contract with Binance that necessarily, and “‘as in fact performed’

involved effecting securities transactions on an unregistered exchange.” Id. at 14

(quoting Slomiak v. Bear Stearns & Co., 597 F. Supp. 676, 682 (S.D.N.Y. 1984)).

Binance’s assertion (at 49) that “the only contracts plaintiffs allege they had with

Binance are the terms of use” is therefore wrong and inconsistent with Plaintiffs’

allegations. Because Plaintiffs’ purchase contracts for Token purchases within the

year before filing were formed within the year before filing, Plaintiffs’ Section 29(b)

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claims based on those purchases are timely even if Binance were right (which it is

not, as explained below) that the limitations period necessarily begins to run at the

time of contract formation.

      As explained in Plaintiffs’ opening brief (at 28–29) Plaintiffs’ allegations do

not support an inference that Plaintiffs knew Binance was an unlawfully unregistered

exchange prior to the time of the relevant Token purchases, as Binance contends (at

51–52) and the district court improperly found. But even if Plaintiffs did have such

knowledge, it would have no bearing on the timeliness of their claims. Binance’s

arguments (and the district court’s holding) that the limitations period began to run

before Plaintiffs entered the relevant purchase contracts—and therefore before

Plaintiffs’ claims to rescind those contracts accrued—would improperly create a

knowledge defense where none exists in the statute. Statutes of limitations, unlike

statutes of repose, begin to run only after accrual. See, e.g., City of Pontiac, 637

F.3d at 176. As Plaintiffs explained in their opening brief (at 30–33), neither the

plain language of Section 29(b), nor caselaw concerning discovery rules more

generally, support a reading of Section 29(b) under which claims would be untimely

ab initio if a plaintiff learned of the fact that the exchange was unregistered before

entering into the purchase contract the plaintiff seeks to rescind. Thus, for the

reasons explained in Plaintiffs’ opening brief and above, Plaintiffs’ claims based on




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purchases made on or after April 3, 2019 are timely under the one-year statute of

limitations applicable to Section 29(b) claims.

      Second, Plaintiffs’ claims are timely even if Binance were correct that

Binance’s terms of use are the only contracts between Plaintiffs and Binance (which

they are not), because the limitations period to rescind those contracts with respect

to Plaintiffs’ purchases within the year before filing did not begin to run until the

date of the relevant purchases. Binance observes that contracts are not voidable

under Section 29(b) unless they are facially unlawful under the terms of the

Exchange Act, and asserts that the limitations period therefore necessarily runs from

the time of contract formation. But not one of the cases Binance cites (at 49, 52–53)

holds that the limitations period necessarily begins to run on the date the allegedly

unlawful contract is formed. Moreover, Binance does not identify—and Plaintiffs

have not found—any cases holding that, as Binance argues (at 52–53), Section 29(b)

claims accrue when the contract is signed, such that plaintiffs may bring such claims

before any illegal transaction has occurred and even if no party ever performs under

the contract.   Presumably if Plaintiffs had brought suit against Binance upon

agreeing to the underlying terms but before making a purchase, Binance would have

sought dismissal for lack of standing under Article III.

      Cases interpreting analogous limitations provisions for rescission actions

demonstrate that the limitations period begins to run at the time of Plaintiffs’

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purchases for which they seek to rescind the contract (i.e., purchases within the year

before filing). As Plaintiffs explained in their opening brief, those cases conclude

that where, as here, the contract does not require performance by either party, accrual

of the rescission claim occurs on the date of sale of a security (which in this case

occurred within a year of suit), not the prior date on which the contract was entered

into. Opening Br. at 32–33 (citing Kahn v. Kohlberg, Kravis, Roberts & Co.

(“KKR”), 970 F.2d 1030, 1040 (2d Cir. 1992); Celsion Corp. v. Stearns Mgmt. Corp.,

157 F. Supp. 2d 942, 949 (N.D. Ill. 2001)).

      Binance’s attempts to distinguish those cases are flawed. Although this Court

in KKR determined that the limitations period ran from the time of contract

formation, that conclusion was based on the parties’ “commit[ment] to pay” the

amount under the specific contract at issue. 970 F.2d at 1040–41. The Court made

clear that where, as here, a plaintiff seeks to rescind a contract that contemplates but

does not require subsequent payments, the statute of limitations for a rescission

claim does not begin to run at the time of contract formation. Id. at 1039–41. As

for Celsion, the passage Binance cites in attempting to distinguish the decision did

not address whether claims can accrue before the date of sale. Indeed, the court held

that the accrual date was the date of sale, which was the same as the date of formation

because the parties were “obligated” to carry out the sale under the contract. 157 F.

Supp. 2d at 949. Here, by contrast, the Plaintiffs were not obligated to carry out any

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transaction once they had created their accounts, and thus the “sale” for purposes of

Celsion’s analysis could not have occurred at any point prior to Plaintiffs’ purchase

of the Tokens.

      Finally, even if Binance were right that its terms of use are the only relevant

contracts between Plaintiffs and Binance, and even if Binance were right that the

limitations period runs from the date of formation of the contract, Plaintiffs’ claims

for purchases within the year before filing are timely. Binance issued a revised terms

of use agreement on February 20, 2019, which governed any purchases made

thereafter. A-489–511. Pursuant to its terms, each Plaintiff agreed to the revised

terms of use agreement as of the date they first transacted on Binance after issuance

of those new terms of use. A-498. But none of the Plaintiffs transacted on the date

the revised terms of use agreement was issued, nor on any other date until after April

3, 2019. See A-129 (Williams Certification) (transacted on May 8, 2019); A-143

(Token Fund I LLC Certification) (transacted on May 19, 2019); A-87 (Muhammad

Certification) (transacted on June 27, 2019); A-58 (Hardin Certification) (transacted

on July 8, 2019); A-125 (Thiagarajan Certification) (transacted on March 19, 2020).

Plaintiffs therefore did not enter into the revised terms of use until after April 3,

2019, which was within one year before filing the complaint. Plaintiffs’ Section

29(b) claims based on purchases within the year prior to suit are therefore timely




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even under Binance’s incorrect arguments since Plaintiffs agreed to the underlying

terms of use governing those purchases within one year of suit.

IV.   The District Court Improperly Dismissed State Law Claims On Behalf
      Of Absent Class Members

      Plaintiffs assert several claims on behalf of absent class members under Blue

Sky laws of jurisdictions in which putative class members, but not the named

Plaintiffs, purchased Tokens. As explained in Plaintiffs’ opening brief (at 38–41),

Plaintiffs Anderson, Muhammad, Williams, Hardin, and Token Fund I LLC brought

timely state law claims arising from their individual Token purchases under the Blue

Sky laws of their respective states or territories of residence (Texas, Nevada, and

Puerto Rico), which the district court wrongly dismissed as untimely. Although

Binance argues in passing (at 57–58) that these claims should be dismissed because

they are impermissibly extraterritorial, Binance does not dispute, and therefore

concedes, that these claims are timely under the applicable two- and three-year state

limitations periods.

      Instead, Binance argues (at 58) that “[h]aving properly dismissed all claims

that plaintiffs assert in their own names, the District Court rightly dismissed the

state-law claims they purportedly brought on behalf of absent putative class

members.” Binance does not argue that if Plaintiffs’ claims survive dismissal, it

would still be appropriate to dismiss claims asserted on behalf of absent class

members on the ground relied upon by the district court (i.e., that “there is an
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insufficient nexus between the allegations” concerning named Plaintiffs’ purchases

“and those jurisdictions”). SPA-9. For good reason: as Plaintiffs explained in their

opening brief (at 41–42), Plaintiffs plainly have Article III standing to sue

Defendants based on Plaintiffs’ own purchases, and the question of whether they

may additionally bring claims on behalf of out-of-state, absent class members whose

claims arise under materially identical states’ laws is a predominance question

reserved for the class certification stage. Langan v. Johnson & Johnson Consumer

Cos., 897 F.3d 88, 93 (2d Cir. 2018).

                                 CONCLUSION

      For the foregoing reasons and the reasons set forth in Plaintiffs-Appellants’

opening brief, Plaintiffs-Appellants respectfully request that the Court reverse the

judgment of the district court and remand for further proceedings.

Dated: November 17, 2022
       New York, New York


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                  CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(a)(5) of the Federal Rules of Appellate

Procedure, the foregoing brief is in 14-Point Times New Roman

proportional font and contains 6,724 words and thus is in compliance with

the type-volume limitation set forth in Rule 32(a)(7)(B) of the Federal Rules

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